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                        Exhibit I
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                    -    -   -   X


 UNITED STATES OF AMERICA
                                                                                         PROTECTIVE ORDER
                  - v. -
                                                                                         19 Cr . 5 65 ( JPO )
 ELIJAH BILAL ,

                                               Defendant .


 -    -   -   -   -   -    -   -   -       -    -   -   -   -   -   -    -   -   X



                      Upon the application of the United States of America ,

DAMIAN WILLIAMS , United States Attorney for the Southern District

o f New York , by and through Assistant United States Attorneys Peter

J . Davis ,           Emily A. Johnson ,                          and Thomas John Wright~            of counsel ,

for       an order precluding the dissemination of material produced

pursuant to 18 U. S . C . § 35 00 and / or Giglio v . United States , 4 0 5

U. S .        15 0        (1972 )      f        and         the         Government ' s    general     disclosure

o bligations or practices , relating to (1 ) witnesses the Government

anticipates may be called to testify at trial , and (2 ) individuals

the Government does not anticipate calling at trial (collectively ,

the "35 00 Material" ) , made on consent ,                                           and based on the Court ' s

independent review , it is hereby

                      ORDERED that (1 ) defense counsel must destroy or return

to the Go vernment all 35 0 0 Material                                           (and any copies thereof ) at

the conclusion of the trial of this matter or when any appeal has

bec ome final ;                (2 ) the defense is precluded from disseminating any
     Case
       Case
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of the 35 0 0 Material (and any copies thereof ) to anyone beyond the

defendant , defense counsel , and any paralegal or staff employed by

the defense ;      (3 ) the defendant is precluded from taking any 350 0

Material (or any copies thereof ) with them into any jail facility ,

or possessing any 3500 Material or copies                  thereof    in any      jail

facility , either before , during , or after trial ; except that while

in a jail facility the defendant may review the 3500 Material , in

the possession of defense counsel and/or any paralegal or staff

employed by the defense , when in the presence of defense counsel

or   any paralegal or staff employed by the defense ;                 and     ( 4 ) any

35 00   Material    designated    "ATTORNEY ' S    EYES    ONLY"     shall    n ot   be

disseminated to the defendant o r anyone else .beyond defense c ounsel

and an y paralegal or staff employed by the defense , nor shall the

n ames o f witnesses reflected in such material be disclosed to the

Defendant .

              FURTHER   ORDERED    that   if     counsel    for     the    defendant

de termines that the information provided is material and relevant

to    the   investigation and defense       of    their    client    and     requ ires

coun sel to share the inf ormation subject to this protective o rder

with their client , coun sel f o r the defendant reserves the right ,
   Case
     Case
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                                                           Page
                                                              3 of4 3of 4




on notice to the Government , to seek permission from the Court to

do so .


AGREED AND CONSENTED TO :

            DAMIAN WILLIAMS
            United States Attorney



By :          £~fi,{!l~                         Date :      May 2 , 2022
            PeterZD~
            Emily A. Johnson
            Thomas John Wright
            Assistant United States Attorneys



                                                Date :       May   5, 2022

            Louis M~ Freeman
            Ying Stafford
            Counsel for Defendant Elijah Bilal


Dated :     New York , New York
            May!/-- , 2022




                                    THE HONORABLE J . PAUL OETKEN
                                    UNITED STATES DISTRICT JUDGE
